                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CASE NO. 3:22-CV-169-MOC-DCK

 ELSY MARINA GARCIA,                                  )
                                                      )
                Plaintiff,                            )
                                                      )
    v.                                                )    ORDER
                                                      )
 ALEJANDRO MAYORKAS, UR MENDOZA                       )
 JADDOU, and CHRISTOPHER M.                           )
 HEFFRON,                                             )
                                                      )
                Defendants.                           )
                                                      )

         THIS MATTER IS BEFORE THE COURT on Defendants’ “Consent Motion To Stay

Case” (Document No. 5) filed June 24, 2022. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, and after consultation with Judge Cogburn’s

chambers, the undersigned will grant the motion.

         IT IS, THEREFORE, ORDERED that Defendants’ “Consent Motion To Stay Case”

(Document No. 5) is GRANTED. This case is hereby STAYED until December 30, 2022. In

the event that the case is not resolved at the administrative level, Defendants shall answer or

otherwise respond to Plaintiff’s Complaint and file a Status Report on December 30, 2022.

         SO ORDERED.          Signed: June 24, 2022




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